fnldecac (12/15)


                                   UNITED STATES BANKRUPTCY COURT
                                             MIDDLE DISTRICT OF PENNSYLVANIA
In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade):

    David Wylie Jr.                                                                  Chapter 7
    PO Box 24                                                                        Case No. 5:16−bk−03186−JJT
    Laceyville, PA 18623


     Last four digits of Social−Security, Individual
    Taxpayer−Identification, Employer Tax−Identification No(s)(if
    any):
    xxx−xx−4815


                                                                 FINAL DECREE

The estate of the above named debtor(s) has been fully administered.

IT IS ORDERED THAT:

                                                                Mark J. Conway (Trustee)



is discharged as trustee of the estate of the above−named debtor(s); and the chapter 7 case of the above named
debtor(s) is closed.


                                                                                     BY THE COURT
Dated: November 14, 2016                                                             By the Court,




                                                                                     Honorable John J. Thomas
                                                                                     United States Bankruptcy Judge
                                                                                     By: AutoDocketer, Deputy Clerk




        Case 5:16-bk-03186-JJT Doc 11 Filed 11/14/16 Entered 11/14/16 22:00:11                                        Desc
                              Final Decree (AutoClose) Page 1 of 1
